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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10          CALIFORNIA EXPANDED                          CASE NO. C18-0659JLR
            METAL PRODUCTS COMPANY,
11          et al.,                                      ORDER ADOPTING REPORT
                                                         AND RECOMMENDATION
12                               Plaintiffs,
                   v.
13

14          JAMES A. KLEIN, et al.,

15                               Defendants.

16          Before the court is Special Master Mark Walters’s report and recommendation on
17   non-parties Seal4Safti, Inc.; SteelTec Supply, Inc.; Jaroslaw Sydry; and Leszek
18   Orszulak’s (collectively, “Non-Parties”) motion to quash certain deposition subpoenas
19   served by Plaintiff and Counter Defendant California Expanded Metal Company
20   (“CEMCO”) (Mot. to Quash (Dkt. # 210)). (R&R (Dkt. # 211).) Mr. Walters
21   additionally reviewed CEMCO’s request for sanctions and proposed a new briefing
22   schedule for the contempt proceedings in this case. (Id. at 13-14.)


     ORDER - 1
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 1          Pursuant to Federal Rule of Civil Procedure 53(f), the court must decide de novo

 2   all objections to the findings of fact or conclusions of law made or recommended by a

 3   special master. Fed. R. Civ. P. 53(f)(3)-(4). Here, no party objects to any of Mr.

 4   Walters’s recommendations. (See Dkt.; see also R&R at 15 (allowing parties to file

 5   objections, if any, no later than March 20, 2021).) The court has reviewed Mr. Walters’s

 6   report and recommendation in accordance with Federal Rule of Civil Procedure 53(f), the

 7   parties’ submissions related to the report and recommendation, the relevant portions of

 8   the record, and the applicable law. Having done so, the court finds Mr. Walters’s

 9   reasoning persuasive in light of the record and independently reaches the same

10   conclusions for the reasons articulated by Mr. Walters.

11          Accordingly, the court ADOPTS the report and recommendation in its entirety

12   (Dkt. # 211) and DENIES Non-Parties’ motion to quash (Dkt. # 210), as detailed in Mr.

13   Walters’s report and recommendation. The parties are DIRECTED to meet and confer to

14   determine the time and reasonable accommodations for the depositions. The court

15   DECLINES to impose sanctions as requested by CEMCO. The court additionally

16   ADOPTS the proposed briefing schedule as follows:

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 1   Event                                      Date
     Filing and Service of Renewed Motion       May 13, 2021 (Noted for the third Friday
 2   to Initial Proceedings                     thereafter consistent with LCR 7(d)(3))
     Filing and Service of Motion for           July 15, 2021 (Noted for the fourth Friday
 3   Contempt                                   thereafter consistent with LCR 7(d)(3))

 4        Dated this 26th day of March, 2021.

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 6                                                   A
                                                     JAMES L. ROBART
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                                                     United States District Judge
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     ORDER - 3
